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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
               Plaintiff,                         §
                                                  §                 No. 3:12-cr-377-M
v.                                                §
                                                  §
CAROLYN CLARK, et al.,                            §
                                                  §
               Defendants.                        §

                             MEMORANDUM OPINION & ORDER

       Before the Court is the Government’s Motion to Exclude Defendant Clark’s Experts

[Docket Entry #125]. Plaintiff seeks to exclude two of Clark’s designated experts: (1) Kimberly

Priest-Johnson, who is designated to testify about federal sentencing guidelines and federal plea

bargaining, and (2) Chris J. Dellinges, CPA, who is designated to testify about compliance with

Treasury Department regulations concerning the preparation of tax returns and the policies and

procedures of Clark’s tax preparation business. For the reasons stated below, the Government’s

Motion is GRANTED in part and DENIED in part.

       The trial court acts as a “gatekeeper” to exclude expert testimony that does not meet the

relevancy and reliability threshold requirements. In this role, the trial court determines the

admissibility of expert testimony based on Federal Rule of Evidence 702 and Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579 (1993) and its progeny. Accordingly, opinion testimony is not

admissible unless:

       (1) The witness is qualified as an expert by knowledge, skill, experience, training, or
           education. Fed. R. Evid. 702;

       (2) The witness’s reasoning or methodology underlying the opinion testimony is
           scientifically reliable. Daubert, 509 U.S. at 592-93; and


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        (3) The testimony is relevant—that is, it assists the trier of fact to understand the
            evidence or to determine a fact at issue. Fed. R. Evid. 702; Daubert, 509 U.S. at 591.

        The proponent of the expert has the burden of establishing the pertinent admissibility

requirements by a preponderance of the evidence. Kumho Tire Co. v. Carmichael, 119 S. Ct.

1167, 1169 (1999). If the probative value of relevant evidence is substantially outweighed by a

danger of one or more of “unfair prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative evidence[,]” the Court may exclude the

evidence. Fed. R. Evid. 403. The Court rules as follows based on Rule 702, Rule 403, and in

exercise of its gatekeeping function.

        The Government seeks to exclude Ms. Priest-Johnson on the grounds that her testimony

is not relevant or likely to assist the jury. With respect to Ms. Priest-Johnson’s proposed

testimony about federal sentencing guidelines, the Government correctly asserts that sentencing

is not an issue before the jury. Further, testimony regarding federal plea bargaining is

unnecessary given that the Court itself can adequately instruct the jury concerning testimony

from co-Defendants who have accepted plea bargains. Clark does not respond to the

Government’s arguments regarding Ms. Priest-Johnson. Accordingly, the Government’s Motion

is GRANTED with respect to Ms. Priest-Johnson.

        The Government argues that Mr. Dellinges’s proposed testimony as to the propriety of

the tax returns at issue and compliance with Treasury Department regulations should be excluded

as it calls for a conclusion of law rather than assists the trier of fact in determining a fact at issue.

In response, Clark describes Mr. Dellinges’s proposed testimony with greater specificity, and

maintains that his testimony would only concern background information about Treasury

Department regulations and tax preparation procedures rather than legal conclusions.




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       The Government’s Motion is GRANTED in part and DENIED in part with respect to

Mr. Dellinges. While educating the jury as to relevant regulations and providing details about tax

preparation are appropriate subjects for expert testimony, legal conclusions as to whether

Defendant complied with Governmental regulations or industry practices are not. United States

v. Burlington Res. Oil & Gas Co., No. H–98–611, 2000 WL 1058972, at *7-8 (S.D. Tex. 2000).

Thus, Mr. Dellinges may testify as to general background information about Treasury

Department regulations and tax preparation industry practices, but may not offer legal

conclusions, nor testify as to whether the tax returns at issue or Action E-File’s policies and

procedures were proper or in compliance with Treasury Department regulations.

       SO ORDERED.

       June 27, 2014.

                                              _________________________________
                                              BARBARA M. G. LYNN
                                              UNITED STATES DISTRICT JUDGE
                                              NORTHERN DISTRICT OF TEXAS




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